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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 1:17-cv-24444-UU


  CENTER FOR BIOLOGICAL DIVERSITY,
  et al.,

         Plaintiffs,

                 v.

  RYAN ZINKE, in his official capacity as
  Secretary of the U.S. Department of the
  Interior; et al.,

        Defendants,

  and

  CORAL REEF RETAIL, LLC, et al.,

        Intervenor Defendants.


                       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                          AND SUPPORTING MEMORANDUM OF LAW
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         Plaintiffs move for summary judgment on all Counts in their First Amended Complaint
  (ECF No. 95). For the reasons set forth below, 1 Defendants Ryan Zinke, Greg Sheehan, and Jim
  Kurth, in their official capacities; U.S. Department of the Interior; and U.S. Fish and Wildlife
  Service (collectively, “FWS”) violated the National Environmental Policy Act (“NEPA”), the
  Administrative Procedure Act (“APA”), and the Endangered Species Act (“ESA” or “Act”)
  when FWS approved an incidental take permit (“ITP”) to kill and displace federally protected
  plants and animals to construct a shopping plaza and apartments.
         Plaintiffs request that the Court: (1) declare FWS’s decision to issue the ITP violates
  NEPA and the APA; (2) declare FWS’s biological opinion (“BO”) violates the ESA and APA;
  (3) declare FWS’s reliance on the BO violates the ESA; (4) declare FWS’s environmental
  assessment (“EA”) violates NEPA; (5) vacate permit no. TE15009C-0; (6) vacate the BO and its
  incidental take statement and remand to FWS to prepare a BO that complies with the mandates
  of the ESA; (7) vacate the EA and FONSI and remand to FWS to prepare an Environmental
  Impact Statement (“EIS”); (8) enjoin FWS from authorizing any further action under
  TE15009C-0 until it fully complies with the requirements of NEPA and the APA; (9) order FWS
  to take all feasible and practicable steps necessary to restore and recover habitat that was altered
  or destroyed; (10) award Plaintiffs their costs and reasonable attorneys’ fees pursuant to the
  ESA, 16 U.S.C. § 1540(g)(4), Equal Access to Justice Act, 28 U.S.C. § 2412, and Federal Rule
  of Civil Procedure 54(d); and (11) award Plaintiffs any other relief that is just and proper.
                                         STANDARD OF REVIEW
         Review of agency actions, including decisions under the ESA and NEPA, is provided by
  the APA. 5 U.S.C. § 704; Miccosukee Tribe of Indians of FL v. U.S., 420 F. Supp. 2d 1324, 1332
  (S.D. Fla. 2006); Ouachita Watch League v. Jacobs, 463 F.3d 1163, 1169 (11th Cir. 2006). The
  reviewing court must review the administrative record, Sierra Club v. U.S. Army Corps of
  Eng’rs, 295 F.3d 1209, 1216 (11th Cir. 2002), and “hold unlawful and set aside agency action,



  1
   Plaintiffs incorporate by reference arguments made in their Motion for Temporary Restraining
  Order and/or Preliminary Injunction, Consolidated Reply in Support of Temporary Restraining
  Order and/or Preliminary Injunction, Objections to Magistrate Judge’s Report and
  Recommendation, and Consolidated Reply to Responses to Opposition (ECF Nos. 4, 53, 82, and
  93) and including arguments made during the hearing on January 3, 2018.

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  findings, and conclusions” that are “arbitrary, capricious, an abuse of discretion, or otherwise not
  in accordance with law.” 5 U.S.C. § 706(2)(A). An action is “arbitrary and capricious” if:
  the agency has relied on factors which Congress has not intended it to consider, entirely failed to
  consider an important aspect of the problem, offered an explanation for its decision that runs
  counter to the evidence before the agency, or is so implausible that it could not be ascribed to a
  difference in view or the product of agency expertise. Motor Vehicles Mfrs. Ass’n v. State Farm
  Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Summary judgment is warranted if “there is no
  genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
  law.” Fed. R. Civ. P. 56(a).
                                                ARGUMENT
         FWS’s decision to issue an ITP to destroy rare forest crucial to the survival of
  endangered and threatened species is arbitrary and capricious, and violates the ESA, NEPA, and
  the APA. Most troubling, FWS issued the permit without knowing how species would be
  impacted, positively or negatively, by Coral Reef Commons (“CRC”) because it relied on a self-
  serving “Habitat Functional Assessment” (“HFA”) to characterize the impact of CRC on the pine
  rocklands produced and closely guarded by Coral Reef Retail LLC, Coral Reef RESI PH 1 LLC,
  and RAMDEV LLC (collectively, “RAM”). In addition to previously raised claims, Plaintiffs
  now raise two substantive violations of the ESA. 2 As the Administrative Record (“Record”)
  reveals, 3 FWS rushed environmental review and issued the ITP even though it lacked the
  requisite scientific and rational basis to do so. This not only violates the ESA’s and NEPA’s
  procedural requirements, but also FWS’s substantive statutory mandate under those laws to
  carefully review the environmental impacts of its decisions and ensure they will not jeopardize a
  species’ very existence. Therefore, this Court should find that FWS failed to ensure that CRC
  will not jeopardize the existence of listed species, and that it violated NEPA and the APA by
  arbitrarily deciding not to produce an EIS.



  2
    Due to the ESA’s jurisdictional 60-day notice requirement, 16 U.S.C. § 1540(g), the Court did
  not have jurisdiction to adjudicate Counts III & IV when Plaintiffs filed their original complaint
  on December 8, 2017. ECF 1. Plaintiffs raise those claims here.
  3
    When this Court denied Plaintiffs’ motion for preliminary injunction, FWS had not yet filed the
  Record.

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         A.      FWS Failed to Ensure that CRC will not Jeopardize the Existence of Listed
                 Species.

         FWS’s determination that CRC is not likely to jeopardize endangered or threatened
  species or destroy or adversely modify critical habitat was arbitrary and capricious and contrary
  to law because FWS failed to satisfy the ESA’s stringent procedural requirements, as it must to
  meet its duty to avoid jeopardy pursuant to ESA section 7(a)(2). 16 U.S.C. § 1536(a)(2). To
  jeopardize the continued existence of the species is to engage in an activity that either, “directly
  or indirectly . . . reduces appreciably the likelihood of both the survival and recovery of a listed
  species in the wild by reducing the reproduction, numbers, or distribution of that species.” 4
                 1.      FWS’s No-Jeopardy Determinations Are Arbitrary and Capricious.
         Because CRC may compromise species’ survival by destroying and fragmenting their
  habitat, AR 3 at 85, 86, FWS’s no-jeopardy determination was arbitrary and capricious. CRC
  will “take”—kill, harm, or harass—at least 20 Richmond Pine Rocklands (“Richmond
  Rocklands”) species, AR 3 at 62–63, as well as a significant portion of the largest intact pine
  rocklands forest left outside Everglades National Park, which is important to the near- and long-
  term survival of the Miami tiger beetle (“Beetle”), Bartram’s scrub-hairstreak butterfly
  (“Bartram’s”), and other species in the face of development and sea-level rise. AR 3 at 88–90;
  AR 3 at 119.
         For example, the Beetle occurs in just two places on Earth, one population in the
  Richmond Rocklands and a much smaller population nearby, AR 3 at 134. CRC will destroy
  9.35 percent of its occupied habitat in the Richmond Rocklands and 8.15 percent of its habitat
  overall, AR 116 at 3017, att. 2 at *4. It will also kill the rare Beetles and ultimately divide the
  largest population into two smaller, isolated ones with low chances for genetic exchange,
  population growth, or recovery. Id.; Wirth Decl. at 2–4 (citing “an increased probability of
  extirpation and extinction”). Bartram’s and the Florida leafwing butterfly (“Leafwing”) also exist
  in similarly limited areas, AR 3 at 96, AR 119 at 3020, att. 1 at *1, and will lose ecologically
  significant habitat to CRC. AR 3 at 100 (40 percent of Bartram’s only host plant on site
  destroyed); AR 119 at 3020, att. 1 at *4 (9.35 percent of “potentially occupied” Leafwing critical


  4
   Florida Key Deer v. Brown, 364 F.Supp.2d 1345, 1359 (U.S. Dist. Ct. S.D. Fla. 2005) (citing
  50 C.F.C. § 402.02).

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   habitat in the Richmond Rocklands, and 0.67 percent of all its habitat will be destroyed). This
   habitat is “some of the last remaining refugia” from extinction as rising seas inundate more than
   75 percent of all pine rocklands. AR 119 at 3020, att. 1 at *4; AR 3 at 111, 112.
          FWS should have considered CRC’s effects to each of these species. See Sierra Club v.
   Glickman, 156 F.3d 606, 616 (5th Cir. 1998) (“[A]gencies must consult with FWS as to each of
   the listed species, not just undertake a generalized consultation . . . .”); Fla. Key Deer v.
   Paulison, 522 F.3d 1133, 1146 (11th Cir. 2008) (quoting Glickman). Instead, FWS used the HFA
   to conclude that CRC will not jeopardize any of the species’ existence, AR 3 at 93–94, and in
   doing so arbitrarily failed to provide a satisfactory explanation for its conclusions and failed to
   consider relevant factors. Fla. Key Deer v. Brown, 364 F. Supp. 2d 1345, 1349 (S.D. Fla. 2005).
          For instance, the HFA does not consider the specific habitat needs of the Beetle or the
   Florida bonneted bat (“Bat”). The Beetle requires patches of sandy soil at forest edges, AR 3 at
   131; AR 269 at 42253, and the Bats prefers “relatively open” areas with open water for hunting,
   AR 3 at 175, but the HFA does not factor in those habitat features; it simply applies the same six
   generic factors, which do not capture the Beetle’s and Bat’s needs. AR 4 at 348; AR 3 at 92
   (RAM’s model is “spatially explicit” not “species specific”). 5 In fact, FWS admitted that the
   HFA does not factor in the “increased value” of cleared areas for the Beetle because it considers
   those areas to have “low functional value as pine rockland habitat,” meaning “the net effect of
   habitat lost and habitat preserved . . . could be a decrease” in conservation value for the Beetle.
   AR 123 at 3024, att. 1 at *2.
          FWS also arbitrarily concluded that CRC will not jeopardize the Beetle, Bat, or other
   endangered species by assuming that CRC will eventually restore more habitat than it destroys.
   AR 1 at 4–5. But without specifics on how much habitat will be improved, Nagano Decl. at 3, for
   each species, see Paulison, 522 F.3d at 1146—or how these species will persist until the
   promised improvements may be realized, see Sierra Club v. Marsh, 816 F.2d 1376, 1389 (9th
   Cir. 1987)—this assumption is patently arbitrary and capricious. See Black Warrior Riverkeeper
   v. U.S. Army Corps of Eng’rs, 833 F.3d 1274, 1285 (11th Cir. 2016) (court may only uphold an
   agency decision “of less than ideal clarity” if its “path may reasonably be discerned”); Sierra


   5
     FWS biologists asked RAM to alter the HFA to incorporate the Beetle’s specific soil
   requirements, AR 133 at 3044, att., but RAM refused. AR 132 at 3042.

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   Club v. Babbit, 15 F. Supp. 2d 1274, 1283 (S.D. Ala. 1998) (“‘[F]acts’ on which the FWS based
   its decision appear to be assumptions, presumption, or conclusions themselves” and not based on
   “any evidence, documents, or data in the . . . Record”). 6
                  2.      FWS Failed to Satisfy Procedural Requirements of the ESA.
          The sole means for FWS to satisfy its duties under ESA section 7(a)(2)—i.e., to ensure
   that CRC does not jeopardize endangered or threatened species, or destroy or adversely modify
   critical habitat, 16 U.S.C. § 1536(a)(2)—was to discharge the Act’s strict procedural
   requirements. 50 C.F.R. Part 402. FWS violated these procedures in four primary ways, thereby
   undermining its ability to ensure against the likelihood of jeopardy. TVA v. Hill, 437 U.S. 153,
   174 (1978) (“Congress clearly intended that the [agency] give ‘the highest of priorities’ and the
   ‘benefit of the doubt’ to preserving endangered species”) (quoting H.R. Conf. Rep. No. 697, 96th
   Cong., 1st Sess. 12 (1979), reprinted in 1979 U.S. Code Cong. & Admin. News 2572, 2576).
                          a.      FWS Improperly Conflated the “Action Area” with the “Plan
                                  Area.”

          When analyzing a project’s impacts on species, FWS must define the action area to
   include “all areas to be affected directly or indirectly by the Federal action and not merely the
   immediate area involved in the action.” 50 C.F.R. § 402.2. Applying this definition to CRC, the
   action area is the 800-acre Richmond Rocklands, which sustain the protected species and will be
   fragmented and damaged by CRC. Yet FWS defined the action area as the much smaller
   “188.86-acre ‘Plan Area” described by RAM, AR 3 at 70, ignoring impacts to whole swaths of
   surrounding habitat and far-ranging species. Nagano Decl. at 2.
                          b.      FWS Failed to Use the Best-Available Scientific Information.
          FWS was required to “use the best scientific and commercial data available” when
   evaluating CRC’s effects to species. 16 U.S.C. § 1536(a)(2). Anticipating CRC’s impacts on
   endangered species, several of which were already “at or near jeopardy,” AR 51 at 2546, FWS

   6
     FWS’s no-jeopardy determination is also arbitrary because the BO relies on prescribed fires to
   restore pine rocklands (a fire-dependent forest type), even as it doubts the feasibility of
   “managing smoke and ensuring public safety” in urban settings. AR 3 at 85 (“[L]iability
   concerns and limited resources have hindered . . . prescribed burning . . . , especially on smaller
   parcels.”); see also ECF 4 at 7. FWS dismissed these concerns for the sole reason that CRC
   residents will be required to “sign documentation acknowledging that fire management activities
   would occur on the CRC property.” AR 3 at 126.

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   biologists asked RAM to provide site-specific species survey data to assess how CRC will result
   in take, and accordingly, how best to avoid, minimize, or mitigate those adverse effects. AR 48
   at 2541, AR 116 at 3017. However, RAM resisted surveying, AR 4498, and FWS acquiesced
   with no explanation. Because survey methods were developed and extensive surveying had been
   done for some of the imperiled species nearby, AR 269 at 21123, FWS failed to satisfy the
   ESA’s demand for the best-available scientific information. 16 U.S.C. § 1536(a)(2)
          The ESA required FWS to “detail[] how the agency action affects the species or its
   critical habitat.” 16 U.S.C. § 1536(b)(3)(A) (emphasis added); 50 C.F.R. § 402.14(h). FWS’s
   implementing regulations require it to supply descriptions of the “specific area” and “any listed
   species or critical habitat” that may be affected, as well as “a description of the manner in which
   the action may affect any listed species or critical habitat.” 50 C.F.R. § 402.14(c) (emphases
   added); cf. Glickman, 156 F.3d at 616 (“[A]gencies must consult . . . as to each of the listed
   species, not just undertake a generalized consultation.”). FWS requires the “best scientific and
   commercial data available” to include all pertinent information “which can be obtained during
   the consultation for an adequate review of the effects that an action may have upon listed species
   or critical habitat.” 50 C.F.R. § 402.14(d) (emphasis added). Here, it cannot be disputed that
   FWS could have required species- or site-specific data during consultation. AR 189 at 3144; AR
   203 at 3173; AR 147 at 3067 at atts. It is axiomatic that “without knowing how many of the
   species are being destroyed in the project site,” FWS “cannot reasonably estimate the extent of
   the impact the additional takings will pose.” Cf. Sierra Club v. Babbit, 15 F. Supp. 2d at 1284;
   Miccosukee Tribe of Indians v. United States, 566 F.3d 1257, 1275 (11th Cir. 2009) (“[S]pecific
   population data is required unless it is impractical.”).
          Given the importance of site surveys to FWS’s final decision, the agency was required to
   at least explain why it would not require RAM to supply surveys or gather the data itself. Motor
   Vehicles Mfrs. Ass’n, 463 U.S. at 43. No such explanation is in the BO or Record. Survey
   protocols for the species make clear that surveys were practicable and the data obtainable. AR
   147 at 3067 and atts. Without the best available science for each species, FWS failed to meet the
   requirements of the Act, rendering the BO “arbitrary and capricious” and “not in accordance




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                    7
   with” the ESA.       Reliance on RAM’s generic and arbitrary HFA is no substitute for using the
   best available science. Supra Part I.A.; cf. Sierra Club v. Babbit, 15 F. Supp. 2d at 1283 (finding
   “many of the important ‘facts’” FWS based its decision on “appear to be assumptions,
   presumptions, or conclusions themselves—not facts based on any evidence, documents, or data
   in the Administrative Record”).
                           c.     FWS’s Use of the HFA Instead of Surveys Resulted in an
                                  Unlawful Incidental Take Statement.

          Because FWS concluded that CRC will take listed species, it was required to prepare an
   incidental take statement (“ITS”) with: (1) a numerical “cap” or in some cases, a rational
   surrogate; and (2) ways to monitor actual take that can serve as an effective “trigger” for
   reinitiation of consultation when permissible levels of take are exceeded. Miccosukee Tribe, 566
   F.3d at 1271–72, 1275; 50 C.F.R. § 402.16. This legally required limit acts as a stopgap to
   prevent an action from taking so many individuals of a species that it jeopardizes the species’
   existence. Miccosukee Tribe, 566 F.3d at 1271–72. Congress declared a preference for a
   numerical expression of take, id. at 1274; thus, FWS may use a surrogate measure only if it
   “explains why it is not practical to express the amount or extent of anticipated take . . . in terms
   of individuals” and “[d]escribes the causal link between the surrogate and take of the listed
   species.” 50 C.F.R. § 502.14(i)(1)(i). Here the ITS lacks a numerical estimate of take, or any
   estimate at all; rather, it refers the reader to the HCP. See AR 3 at 236–37 (“The amount or
   extent of incidental take anticipated . . . [is] as described in the HCP and its accompanying . . .
   permit(s).”).
          FWS does not explain, nor does the Record establish, why it was purportedly
   impracticable to express take numerically. Replacing the ITS with references to pages of the
   HCP is not sufficient to explain why numerical caps were impracticable, let alone satisfy the
   statutory command for a “written statement” that “specifies the impact of the incidental taking on
   the species,” “specifies those reasonable and prudent measures that [FWS] considers necessary
   or appropriate to minimize such impact,” and “sets . . . terms and conditions . . . that must be


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    While FWS included some discussion of the habitat requirements and possible impacts of for
   each listed species, see e.g., AR 3 at 131–134, these discussions are abstract, generalized, and
   based on RAM’s arbitrary HFA rather than real data. See, e.g., AR 3 at 140–141.

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   complied with” to implement the measures. 16 U.S.C. § 1536(b)(4)(C); see also Miccosukee
   Tribe, 566 F.3d at 1274 (“’[A]n [ITS] that utilizes a surrogate [measure] . . . must explain why it
   was impracticable to express a numerical measure of take.’”); Nagano Decl. at 2–3. In fact, FWS
   was able to estimate take for several species impacted by CRC, 8 belying any claim that
   quantifying take was impracticable. Relying on a vague, complicated HCP and HFA for
   statutorily required, numerical limits on take is like “turning on the weather channel to see if it is
   raining instead of looking out a window.” Miccosukee Tribe, 566 F.3d at 1275. The ITS does not
   satisfy FWS’s duties under section 7(a)(2); accordingly, it must be modified or replaced.
                          d.      RAM’s Mitigation Measures Should Have Been Factored into the
                                  Environmental Baseline, Not as Mitigation or Minimization
                                  Measures.

          FWS’s designation of RAM’s pre-existing legal requirements to conserve lands or
   species as mitigation was arbitrary and capricious and contrary to the ESA. FWS was required to
   evaluate the “effects of the action,” which are “the direct and indirect effects of an action on the
   species or critical habitat, together with the effects of other activities that are interrelated or
   interdependent with that action, that will be added to the environmental baseline.” 50 C.F.R.
   §§ 402.14; 402.02. The “environmental baseline” includes “the past and present impacts of all
   Federal, State, or private actions and other human activities in the action area.” Id. § 402.02.
          FWS incorporated “conservation measures”—“actions to benefit or promote the recovery
   of listed species,” ESA Handbook at xii, 4-27—into the ITP, including protecting the on-site and
   off-site “preserves.” AR 3 at 63; AR 4 at 371; AR 2 at 41. However, these measures were pre-
   existing, legally binding on RAM and UM, and unrelated to the ITP. AR 114 at 3014 (Natural
   Forest Community protections on the on-site preserves “are independent of any pending
   applications to USFWS.”); AR 126 at 3029 & att. at *1, *17–19 (Off-site preserve was “already
   under conservation” through an agreement executed with FWS in 2000). Thus relying on them as
   mitigation for CRC was arbitrary and capricious. If anything, these preexisting measures should
   have been incorporated into the “environmental baseline” for CRC. See, e.g., Swan View Coal. v.


   8
     FWS estimated that CRC would crush 859 Beetles (roughly six percent of the 13,000 Beetles in
   existence), AR 3 at 143, 151; disrupt the feeding and breeding of 16 adult Bartram’s and kill all
   their eggs, larvae, and pupae, AR 3 at 102; kill up to three eastern indigo snakes and destroy two
   nests with eggs, AR 3 at 156–57, 159; and harm or kill at least ten Bats, AR 3 at 182–83.

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   Barbouletos, CV06-73-M-DWM, 2008 U.S. Dist. LEXIS 108211 at *16 (D. Mont. June 13,
   2008) (finding that “FWS’s use of ‘existing degraded habitat conditions brought on by the
   [action agency’s] refusal to enforce its own rules [wa]s contrary to law”).
          FWS inclusion of the conservation areas’ “existing degraded conditions” that were
   brought on by RAM’s and its predecessors’ failure to comply with their preexisting requirements
   was contrary to law, and FWS was obliged to analyze the fact that the areas were already under
   conservation easements as part of the environmental baseline. Id.; accord Friends of the E. Fork,
   Inc. v. Thom, 688 F. Supp. 2d 1245, 1255 (W.D. Wash. 2010) (FWS “should consider the state of
   the land as it should have been if [the ITP applicant] had met its state reclamation obligations, in
   establishing the baseline for its analysis”); see also Ctr. for Biological Diversity v. BLM, 698
   F.3d 1101, 1114 (9th Cir. 2012) (“[E]nforceability of mitigation measures turns on their
   integration into the proposed action . . . .”). RAM’s and UM’s preexisting obligations to reclaim,
   conserve, and protect the mitigation areas should have been included in the “environmental
   baseline” as they are “private actions and other human activities in the action area” and/or “the
   impact of State or private actions which are contemporaneous with the consultation” for CRC. 50
   C.F.R. § 402.14.
          Fundamentally hampered by the procedural flaws outlined above, FWS failed to make
   any determination that RAM’s HCP meets the minimum requirements of ESA section 10 and its
   implementing regulations. 16 U.S.C. § 10(a)(2)(B)(ii); 50 C.F.R. Part 17. In particular, the
   Record lacks a sufficient basis for FWS’s determination that RAM’s conservation measures will
   “minimize and mitigate” CRC’s take of endangered wildlife “to the maximum extent
   practicable” as required by” 16 U.S.C. § 1539(a)(2)(B)(ii). See Sierra Club v. Babbit, 15 F.
   Supp. 2d at 1279 (FWS must “supply a sufficient basis” to determine whether the HCP
   “minimizes and mitigates” the project’s harm to endangered species “‘to the maximum extent
   practicable’ as required by ESA § 10(a)(2)(B)(ii)”).
          B.      FWS Arbitrarily Reversed Course in its NEPA Review of CRC.
          FWS violated NEPA and the APA by arbitrarily ordering FWS staff biologists to not
   prepare an EIS and by ignoring the significant negative environmental effects of CRC and
   unlawfully issuing a Finding of No Significant Impact (“FONSI”). It is indisputable that CRC
   will result in significant environmental impacts by destroying more than 80 acres of critically



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   endangered habitat that is important to many imperiled species. AR 4 at 275; AR 3 at 62. FWS
   field office biologists evaluating the ITP application knew this when they received the request to
   authorize the take of nearly two dozen endangered and threatened species, so they proceeded to
   evaluate CRC with an EIS in mind. AR 51 at 2548; AR 146 at 3065; AR 208 at 3183. But FWS
   abruptly changed course with no explanation in the Record.
                  1.      FWS arbitrarily reversed course by ordering its staff to not prepare an
                          Environmental Impact Statement.

          FWS violated NEPA and the APA by arbitrarily ordering its field office staff to not
   produce an EIS after staff determined that one was warranted. FWS biologists originally
   determined that CRC warranted an EIS due to its serious and controversial impacts, AR 146 at
   3065; AR 145 at 3063–64, but FWS’s regional office abruptly reversed course and ordered the
   field office biologists to not prepare one, AR 140 at 3056–57. This decision is not supported by
   the Record; rather, the Record reveals an arbitrary, top-down directive unsupported by the law
   and circumstances.
          The purpose of NEPA is to help public officials make decisions based on a thorough
   understanding of environmental consequences before decisions are made. 40 C.F.R. § 1500.1(b)-
   (c). To that end, NEPA requires federal agencies to prepare an EIS for all “major Federal actions
   significantly affecting the quality of the human environment.” 42 U.S.C. § 4332(2)(C). When an
   agency is uncertain whether an EIS is required, it may first prepare an EA, 40 C.F.R. §§ 1501.3,
   1501.4, 1508.9, but it “is not necessary if the agency . . . prepare[s] an [EIS].” Id. § 1501.3.
          Here, FWS field office biologists familiar with CRC and the harm and destruction it
   would cause to 80 acres of pine rockland and many imperiled species, in coordination with the
   regional office, “determined that an Environmental Impact Statement (EIS) [wa]s the most
   appropriate document” to analyze CRC “based on the potential for significant impacts to the
   human environment and the controversial nature of the project.” AR 146 at 3065; see also AR
   208 at 3181 (scheduling public hearings). FWS reasonably concluded that because CRC had
   significant impacts and was controversial, it should be evaluated through a robust EIS with a
   publically accessible process. See 40 C.F.R. § 1506.6(c)(1).
          RAM tried to convince FWS field office biologists to reverse course, AR 145 at 3063;
   AR 144 at 3062, but they held their position, citing NEPA’s implementing regulations to explain



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   that “[t]he trigger [to prepare an EIS] is whether the proposed action may have a significant
   effect on the human environment (not just the biological resources)” and “whether the effects of
   the action are controversial.” AR 145 at 3063 (citing 40 C.F.R. § 1508.27(4)). The Record does
   not provide any further evidence regarding FWS’s decision-making on this matter.
          Nearly three months after FWS field office biologists decided that an EIS was warranted,
   the Deputy Assistant Regional Director of Ecological Services for FWS abruptly ordered FWS
   field office biologists to not prepare an EIS, stating that “an Environmental Assessment is the
   more appropriate approach . . . for the proposed issuance of an incidental take permit for the
   Coral Reef Commons project.” AR 140 at 3057. The Regional Director went on to inaptly
   “compare [CRC] with . . . the manatee swim-with program” an unassociated project at a wildlife
   refuge in North Florida, claiming it was “arguably as, or more, controversial and could
   potentially be litigated, and [FWS] is using an EA to meet its NEPA responsibilities.” AR 140 at
   3057. FWS plainly did not “examine[] the relevant data” and “articulat[e] a satisfactory
   explanation” for its decision to not prepare an EIS, making it arbitrary and capricious. Defenders
   of Wildlife v. Salazar, 877 F. Supp. 2d 1271, 1298 (M.D. Fla. 2012) (quoting Sierra Club v. U.S.
   Army Corps of Eng’rs, 295 F.3d at 1216).
                  2.     FWS arbitrarily failed to prepare an Environmental Impact Statement
                         despite CRC’s significant impacts to the human environment.

          FWS violated NEPA and the APA when it ignored CRC’s significant environmental
   impacts, including the cumulative impacts of climate change, and refused to prepare an EIS. An
   EA, which the FWS prepared here, should provide “sufficient evidence and analysis for
   determining whether to prepare an EIS”. CEQ, Forty Most Asked Questions Concerning CEQ’s
   National Environmental Policy Act Regs., at 36a (Mar. 23, 1981). If the EA shows that the
   proposed project will have no significant impact on the human environment, the agency may
   issue a FONSI, and proceed with the proposed action. 40 C.F.R. § 1501.4(e). If the agency
   concludes that there may be significant impacts, it must prepare an EIS. Id. §§ 1501.4, 1502.3,
   1508.27.
          To determine whether a project’s effects are significant, an agency must consider the
   project’s context and intensity. Id. § 1508.27. Context refers to the long and short term impacts
   of the project from a national, regional, and local perspective. Id. § 1508.27(a). Intensity means



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   “the severity of the impact”—including both beneficial and adverse impacts—and requires
   consideration of numerous factors at play here. Id. § 1508.27(b). For example, FWS must
   consider the unique characteristics of the area; the degree to which the project’s effects are likely
   to be highly controversial; the degree to which the project may establish precedent for future
   actions; and the degree to which the action may adversely affect a species listed under the ESA.
   Id. § 1508.27(b)(3), (4), (6), (9). Just one intensity factor may trigger the need to prepare an EIS.
   Ocean Advocates v. U.S. Army Corps of Eng’rs, 361 F.3d 1108, 1125 (9th Cir. 2004).
          Furthermore, a “discussion of cumulative impacts is a necessary part of any assessment,”
   and “‘must identify (1) the area in which the effects of the proposed project will be felt; (2) the
   impacts that are expected in that area from the proposed project; (3) other actions—past, present,
   and proposed, and reasonably foreseeable—that have had or are expected to have impacts in the
   same area; (4) the impacts or expected impacts from these other actions; and (5) the overall
   impact that can be expected if the individual impacts are allowed to accumulate.’” Great Old
   Broads For Wilderness v. Kempthorne, 452 F. Supp. 2d 71, 84 (D.D.C. 2006) (quoting Grand
   Canyon Trust v. FAA, 290 F.3d 339, 342 (D.C. Cir. 2002)).
          Ms. Paula Halupa, A 20-year FWS biologist who reviewed CRC in her professional
   capacity, determined that an EIS was appropriate based on these factors. AR 253 at 9367–76. At
   some point, Ms. Halupa stopped working on CRC in her professional capacity, but submitted
   comments in her personal capacity explaining that CRC: (1) “comes with enormous
   consequences and losses to natural resources and humans”; (2) “would be the largest, most
   consequential development in the remaining pine rocklands of south Florida”; (3) “has
   significant consequences for numerous federally listed species, most notably the endangered
   Miami tiger beetle, Bartram’s scrub-hairstreak, and Florida leafwing, which are each
   dangerously close to extinction”; (4) has a “size and location [that] are significant”; and (5) “will
   result in the loss, degradation, and fragmentation of globally imperiled habitat both on the project
   sire and within the surrounding lands.” AR 253 at 9369. Ms. Halupa further questioned “why
   [FWS] opted to prepare an Environmental Assessment (EA) rather than an Environmental
   Impact Statement (EIS)” given the “significant effects of increasing human population density in
   a densely populated area, potential impacts of conducting or not conducting prescribed fire in an
   urban landscape, increased traffic and impacts from traffic, and increased demands on natural



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   resources.” Id. Ms. Halupa noted there was no “finding of no significant impact” in the EA and
   that “an EIS can be extremely helpful for this consequential project as it can: (1) help ensure a
   complete, unbiased, and robust evaluation of significant environmental impacts; and (2) inform
   or enhance the quality of the environment.” AR 253 at 9370.Ms. Halupa also cited “the flaws
   and questions in methodology and misrepresentation of information within the HCP, and
   incomplete survey data and lack of survey information” as reasons for why an EIS is appropriate
   and a FONSI not possible. AR 253 at 9370.
          For many species, CRC’s site is the last of very few places left where they can survive.
   See, e.g., AR 4 at 309–10,317, 321–22; See AR 243 at 9226–28 (comments by expert Jennifer
   Possley). No matter how the Defendants play up the purported environmental benefits of CRC, it
   is undisputed that it will destroy more than 86 acres of some of the most valuable pine rocklands
   for many protected species that cannot live anywhere else. See AR 31 at 1729, 1735, 1749–54.
   Destroying that habitat will have permanent significant consequences for the species’ habitat and
   likely their very existence.
                          a.      In the context of globally imperiled pine rockland impacts, CRC
                                  may significantly impact this geographic area’s unique
                                  characteristics.

          When determining whether to prepare an EIS, FWS ignored the significance of impacting
   the Richmond Rocklands in the context of their “ecologically critical” and globally imperiled
   status. 40 C.F.R. § 1508.27(b)(3) (requiring agency to consider “unique characteristics of the
   geographic area such as proximity to…ecologically critical areas”). FWS repeatedly emphasized
   that the Richmond Rocklands are an “uncommon ecosystem supporting a number of listed and
   at-risk plants and wildlife” AR 48 at 2539, that are highly sensitive to “population level effects”
   from habitat fragmentation, AR 116 at 3017. Construction in this rare habitat is significant. 40
   C.F.R. § 1508.27(b)(3).
          It is indisputable that it includes some of the last remaining habitat for the species
   covered in the ITP and that paving it over for CRC would render it completely uninhabitable.
   Broad-scale losses of pine rocklands (roughly 88 percent) in Miami-Dade County alone,
   compare AR 31 at 1734 with AR 4 at 268, will be compounded by the reasonably foreseeable
   effects of climate change, making “the Richmond Pine Rocklands . . . some of the last remaining
   refugia” from sea-level rise. AR 116 at 3017. While pine rocklands at lower elevations flood

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   regularly and are subject to inundation from sea-level rise and hurricanes, AR 269 at 26733–34,
   45463–64, CRC’s site is a rare forest among the rare because of its high elevation, AR 33 at
   2012; AR 269 at 26717, which shields it from these long-term impacts. FWS failed to analyze
   this long-term importance anywhere in the EA, and if it had, it would have precluded a FONSI
   and necessitated an EIS
                         b.     CRC’s effects are highly controversial.
          FWS ignored record evidence regarding the “degree to which the effects on the quality of
   the human environment are likely to be highly controversial.” 40 C.F.R. § 1508.27(b)(4). FWS
   received 3,000 comments opposing the Project, including comments from individuals and
   organizations with relevant expertise, who explained how CRC’s effects on the quality of the
   human environment are highly controversial. AR 1 at 7. Public controversy over the potential
   impacts of a federal action on the human environment strongly suggests an EIS is required. Id. §
   1508.27(b)(4), (5). FWS conceded that “the proposed Project has generated controversy in the
   County community.” AR 1 at 34.
          FWS repeatedly relied on the work of Ms. Possley, AR 31 at 1749, 1826, 1861; AR 3 at
   251–252, who informed FWS that she “is of the opinion that the [project site] holds extremely
   high ecological value,” AR 243 at 9225, and wholly rejected RAM’s HFA—which relied on her
   published work—as “completely inappropriate.” AR 243 at 9225–26. FWS staff biologist Ms.
   Halpua, stated that CRC “would be the largest, most consequential development in the remaining
   pine rocklands of south Florida,” would have “significant consequences for numerous federally
   list species,” and would be of a “significant” size and location. AR 253 at 9369–70. Likewise,
   Christopher Wirth found the HFA “is likely to poorly estimate the presence or quality of
   necessary pine rockland characteristics” for each of the species. AR 234 at 9172–73. Mary
   Truglio also explained how CRC will not provide the net benefit to imperiled species promised
   by the HCP. AR 246 at 92521.
          The numerous comments from scientists, conservationists, and experts pointing to
   significant environmental impacts not adequately analyzed in the EA constitute precisely the
   type of controversy that warrants an EIS. See Ctr. for Biological Diversity v. Animal & Plant
   Health Inspection Serv., No. 10-14175-CIV, 2011 U.S. Dist. LEXIS 115905, at *17 (S.D. Fla.
   Oct. 6, 2011) (“‘A substantial dispute exists when evidence . . . casts serious doubt upon the



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   reasonableness of an agency's conclusions.’”); Fla. Wildlife Fed’n v. U.S. Army Corps of Eng’rs,
   404 F. Supp. 2d 1352, 1358 (S.D. Fla. 2005) (“Comments from . . . the public regarding the
   indirect and cumulative effects of the project suggest that the size, scope and nature of the
   proposed project's impacts are highly controversial.”); Sierra Club v. U.S. Forest Serv., 843 F.2d
   1190, 1193–94 (9th Cir. 1988) (holding an EA that receives overwhelming criticism from
   “conservationists, biologists, and other experts” is “precisely the type of ‘controversial’ action
   for which an EIS must be prepared”); Found. for N. Am. Wild Sheep v. USDA, 681 F.2d 1172,
   1182 (9th Cir. 1982) (finding an action was “controversial” where the agency “received
   numerous responses from conservationists, biologists, and other knowledgeable individuals [that
   were] all highly critical of the EA”). Even FWS’s Regional Director explained that public
   controversy is a factor FWS considers in deciding whether to proceed with an EIS. AR 140 at
   3057.
                          c.      The action may adversely affect listed species and their habitat.
           FWS ignored record evidence that CRC will kill and harm listed species and destroy and
   fragment more than 80 acres of their exceptionally rare habitat. 40 C.F.R. § 1508.27(b)(9)(degree
   to which the action may adversely affect an endangered or threatened species or its habitat”).
   These plants and animals are already threatened with extinction, and destroying their habitat will
   adversely affect them. While “[a]n environmentally significant action need not involve a threat
   of extinction to a federally-protected species[,] . . . the involvement of a federally protected . . .
   species and the possibility of a threatened impact as potentially serious as extinction or
   extirpation from a traditional habitat are factors weighing in favor of a finding of significance.”
   Sierra Club v. Norton, 207 F. Supp. 2d 1310, 1322 (S.D. Ala. 2002).
           FWS staff found that CRC “will result in the permanent loss of 82.61 acres of occupied
   Miami tiger beetle habitat” which constitutes 9.35 percent of potentially occupied habitat within
   Richmond Rocklands and 8.15 percent of occupied habitat range-wide. AR 116 at 3017, att. 2 at
   *4. This loss “minimizes the opportunities for [the Beetle’s] population growth and recovery.”
   AR 116 at 3017, att. 2 at *4; Wirth Decl. at 5. Nothing in the record contradicts these findings.
           FWS also found that CRC “will increase the fragmentation of the remaining habitat
   within the Richmond Pine Rocklands and has the potential to have population level effects.” AR
   116 at 3017, att. 1 at *6, att. 2 at *4. Yet, these impacts were not explicitly identified or analyzed



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   in the EA. AR 31 at 1722–1864. Likewise, while the Record shows FWS was concerned about
   the loss of habitat at the CRC’s site due to its importance as “some of the last remaining refugia”
   as sea-level rise inundates surrounding rocklands, AR 116 at 3017, att. 2 at *4, the EA utterly
   failed to mention the impacts of sea-level rise, climate change, or coastal squeeze on species
   found on the project site. AR 31 at 1722–1864.
          In Sierra Club v. Norton, where developers sought to pave almost 60 acres of endangered
   Alabama beach mouse habitat, the court found that it was “almost beyond question that the
   destruction of 20% of an endangered species’ ‘optimal habitat’. . . for a species which was
   rendered endangered by pre-listing losses of habitat, will have an impact on that species which is
   ‘significant’ under any reasonable definition of that term.” 207 F. Supp. 2d at 1326. The court
   focused on two significance factors: the possibility of extinction or extirpation from a traditional
   habitat, and uncertainty regarding the environmental effect. Id. at 1322. Similarly in Sierra Club
   v. Babbit, also concerning development in beach mouse habitat, the court found the record
   clearly established “that the FWS’s determination of no significant impact is based on
   insufficient, inaccurate, old and out of date data,” where, as in this case, FWS determined “the
   number . . . conserved or incidentally taken as a result of HCPs cannot be directly estimated.” 15
   F. Supp. 2d at 1284. FWS made a finding of no significant impact despite many unknowns,
   including “’the size of a minimally viable population,’” “current or past population data trends,”
   “population size and density,” and most relevant to the case at issue, “how many of the species
   are being destroyed in the project sites.” Id. The court found FWS “cannot reasonably state that
   the projects will not have a significant impact” and remanded the case to FWS to gather the
   necessary scientific data. Id.
          Like the Alabama beach mouse, the five ESA-listed species at issue here are threatened
   with extinction, extirpated from much of their original habitat, and suffering severe declines in
   population and available habitat due to development. Compare Norton, 207 F. Supp. 2d at 1323
   with ECF 1 (Complaint) at 17–23. Moreover, like the Alabama beach mouse, Bartram’s and




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   Leafwing have designated critical habitat that FWS has determined is essential to the continued
   survival and recovery of the species, 9 AR 3 at 117–23, and CRC will degrade it.
          Here, FWS also operated with as much uncertainty as it did in Norton and Babbit when it
   made its finding of no significant impact. FWS did not know “[p]opulation and density
   estimates” for many species on the project site. AR 116 at 3017, att. 2 at *1 (“Population and
   density estimates are not known for [the Beetle]”). FWS did not have comprehensive, site-
   specific surveys, despite RAM’s ability to obtain them and FWS’s need for them to “help
   describe the [CRC] effects.” AR 116 at 3017, att. 1 at *5, att. 3 at *5; AR 188 at 3142. Absent
   surveys, neither RAM nor FWS knew whether impacted species are present in the off-site
   mitigation area, AR 3 at 100; AR 4 at 314, and the record shows that aside from deltoid spurge,
   the Beetle, and Bartram’s, “nothing more is known to occur” there. AR 104 at 2990. Thus, the
   ability for mitigation to reduce impacts to listed species from significant to a minimum is also
   unknown, and cannot be relied upon to avoid an EIS. See Hill v. Boy, 144 F.3d 1446, 1450 (11th
   Cir. 1998) (“[I]f the agency does find an impact of true significance, preparation of an EIS can
   be avoided only if the agency finds that changes or safeguards in the project sufficiently reduce
   the impact to a minimum.”). Consequently, CRC meets several of the intensity factors and is
   significant in both local and more global contexts. FWS’s failure to prepare an EIS is arbitrary
   and capricious and violates NEPA.
                  3.     FWS deprived the public and itself of valuable information.
          By denying the public a hearing, FWS deprived the public and itself of valuable
   information necessary to analyze CRC. FWS staff acknowledged a hearing would be appropriate
   early on, AR 146 at 3065, an EIS would have necessitated a hearing, id.; AR 2018 at 3183, and
   CEQ and FWS regulations indicate a public hearing was required. 40 C.F.R. § 1508.27(4); AR
   145 at 3063. However, FWS later reported that it would not hold a public hearing because
   Representative Curbelo’s office was “no longer . . . requesting a public meeting or hearing.” AR
   136 at 3048. Thus, FWS arbitrarily decided not to host a public hearing based on a politician’s
   whims rather than its own binding regulations that govern when a public hearing is necessary.


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     The other listed species do not have critical habitat because FWS failed to meet its statutory
   duty to designate it, see 16 U.S.C. § 1533(a)(3), not because habitat is not necessary or important
   to their survival and recovery.

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          Agencies must make high quality information available to officials and citizens so they
   “make decisions that are based on understanding of environmental consequences,” and “use all
   practicable means” to assure a safe, healthy environment and preserve the nation’s natural
   heritage. 50 C.F.R. §§ 1500.1(a)–(c); 1502.2(d); 42 U.S.C. § 4331(b). “‘[C]itizen participation is
   a vital ingredient in the success of NEPA,’” and the “‘opportunity for local citizens or other
   interested parties to participate in the preparation of the environmental analysis is mandatory.’”
   Town of Golden Beach v. U.S. Army Corps of Eng’rs, No. 94-1816 CIV, 1994 U.S. Dist. LEXIS
   15832, *18–19 (S.D. Fla. Sept. 22, 1994); 40 C.F.R. § 1500.1(b).
          To that end, FWS policy “dictates that the FONSI must be made available to the affected
   public.” 550 FW 3, at 3.3(B)(4)(a). FWS must make the FONSI available for a 30-day public
   review, in accordance with 40 C.F.R. § 1501.4(e)(2), if: (i) the proposal is a borderline case (i.e.,
   there is a reasonable argument for preparing an EIS); (ii) the proposal is an unusual case, a new
   kind of action, or a precedent-setting case; (iii) there is either scientific or public controversy
   over the proposal; [or] (iv) when the FONSI involves a proposal that is or is closely similar to
   one which normally requires preparation of an EIS. 550 FW 3 at 3.3(B)(4)(c)(i)-(iv); 40 C.F.R.
   § 1501.4(e)(2), 1508.27.
          Here, all four factors are present. First, this was a borderline case because there is a
   reasonable argument for preparing an EIS, AR 145 at 3063, and until receiving a mandate from
   the Regional Director, AR 140 at 3056–57, FWS staff had determined an EIS was necessary. AR
   146 at 3065–66; AR 145 at 3063. Second, this was an unusual or precedent-setting action
   because the issuance of a take permit was predicated on the generalized HFA, which had never
   been used before and was heavily criticized by the scientific community. AR 243 at 9225–26.
   Third, all parties agree that FWS’s approval of CRC was in spite of well-documented scientific
   and public controversy regarding its nature, size, and impacts. ECF 6 (excerpted public
   comments). Finally, this is the sort of action that normally would require an EIS for the reasons
   stated above. 40 C.F.R. § 1501.4(a)(1); 550 FW 3.3(B)(4)(c)(iv); Supra II.B. By not holding this
   mandatory hearing, FWS violated its own guidance, 550 FR 3.3(B)(4)(c)(i)–(iv), thwarted
   meaningful public participation, and deprived itself valuable information.




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          C.        Plaintiffs have Standing to Bring the Claims in Their First Amended
                    Complaint.

          Plaintiffs are entitled to summary judgment on Claims I-IV based on all of the above,
   their Motion for Temporary Restraining Order and/or Preliminary Injunction, Consolidated
   Reply in Support of Temporary Restraining Order and/or Preliminary Injunction, Objections to
   Magistrate Judge’s Report and Recommendation, and Consolidated Reply to Responses to
   Opposition (ECF Nos. 4, 53, 82, and 93) and arguments made during the hearing on January 4,
   2018, which are incorporated by reference. Permanent remedies for these Claims are discussed in
   Part IV below.
          Plaintiffs are non-profit organizations and bring their claims on behalf of their adversely
   affected members. Plaintiffs’ members’ interest in pine rocklands and impacted species include
   hiking, nature watching, wildlife viewing, contemplation, and photography. See ECF Nos. 4-17–
   4-20; Decls. of Noah Greenwald, Erin Clancy, Al Sunshine, Matthew Schwartz (collectively,
   Standing Declarations). Their aesthetic and recreational interests are harmed by FWS’s approval
   of the incidental take permit, and these harms would be redressed by a Court order vacating and
   remanding FWS’s approval and compelling FWS to reevaluate the incidental take permit. Id.
          Plaintiffs’ members also have recreational, aesthetic, scientific, and commercial interests
   in protecting the Beetle, Bartram’s, Leafwing, Bat, and eastern indigo snake. Id. These interests
   are harmed by FWS’s unlawful permit authorizing their take. Id. A Court order vacating the BO
   and ITP, and directing FWS to comply with the law would redress these harms. Id.; see
   Cottonwood Envtl. Law Ctr. v. U.S. Forest Serv., 789 F.3d 1075, 1079–83 (9th Cir. 2015).
          The interests Plaintiffs seek to protect are germane to their organizational purposes and
   this case does not require individual members to participate. See Standing Declarations.
   Accordingly, Plaintiffs have organizational standing. See Black Warrior Riverkeeper, Inc., 781
   F.3d at 1279-80.
          D.        The Court Should Set Aside the ITP and Order the Parties to Negotiate
                    Terms of Injunctive Relief for FWS’s ESA Violations.

          To remedy the foregoing violations of the ESA, NEPA and APA, the Court must vacate
   the ITP pursuant to the APA. 5 U.S.C. § 706(A)(2); Sierra Club v. Van Antwerp, 719 F. Supp. 2d
   77, 80 (D.D.C. 2010) (holding “vactur is appropriate in order to prevent significant harm


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   resulting from keeping the agency’s decision in place”); see Black Warrior Riverkeeper v. U.S.
   Army Corps of Eng’rs, 781 F.3d 1271, 1290 (11th Cir. 2015) (acknowledging that “‘vacatur . . .
   is the ordinary APA remedy’”). Along with vacatur, the Court should remand and set deadlines
   for FWS to prepare a new BO that complies with ESA and an EIS that complies with NEPA.
   Should the Court also hold that FWS failed to meet its affirmative duties under section 7(a)(2),
   see ECF 95 at 35-36 (Fourth Claim for Relief), Plaintiffs respectfully request the Court to
   exercise its equitable discretion and enter a declaratory order on Claim Four along with an order
   directing and setting a deadline for the parties to discuss a remedy for this claim and any other
   remaining issues. If the Parties are not able to stipulate to terms, Plaintiffs would respectfully
   request the Court to order the Parties to separately brief appropriate injunctive relief to
   adequately remedy FWS’s legal violations and further offset CRC’s effects to listed species,
   particularly in light of the land-clearing and other activities that have occurred at the CRC site.
                                                CONCLUSION.
          Plaintiffs respectfully request that the Court grant them summary judgment on all Counts
   and (1) declare FWS’s decision to issue the ITP violates NEPA and the APA; (2) declare FWS’s
   BO violates the ESA and APA; (3) declare FWS’s reliance on the BO violates the ESA; (4)
   declare FWS’s EA violates NEPA; (5) vacate permit number TE15009C-0; (6) vacate the BO
   and its ITS and remand to FWS to prepare a BO that complies with the mandates of the ESA; (7)
   vacate the EA and FONSI and remand to FWS to prepare an EIS; (8) enjoin FWS from
   authorizing any further action under Permit Number TE15009C-0 until it fully complies with the
   requirements of NEPA and the APA; (9) order FWS to take all feasible and practicable steps
   necessary to restore and recover habitat that was altered or destroyed by the Permittees; (10)
   award Plaintiffs their costs and reasonable attorneys’ fees pursuant to the ESA, 16 U.S.C.
   § 1540(g)(4), Equal Access to Justice Act, 28 U.S.C. § 2412, and Federal Rule of Civil
   Procedure 54(d); and (11) award Plaintiffs any other relief that is just and proper.
                                      REQUEST FOR HEARING
          Plaintiffs respectfully request a hearing on this Motion, and estimate that a hearing would
   last four hours, with one hour for each side’s arguments, i.e. Plaintiffs, Federal Defendants,
   RAM, and UM. A hearing would assist this Court in understanding the highly technical and
   complex matters contained in the Record.



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   Dated: May 4, 2018

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 4, 2018, I electronically filed the foregoing with the

   Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

   day on all counsel of record on the Service List below via transmission of Notice of Electronic

   Filing generated by CM/ECF.


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